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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                EASTERN DIVISION

UNITED STATES OF AMERICA,

VS.                                             CRIMINAL ACTION NO. 1:06CR74-P-D

SHARINA SMITH, ET AL.,                                                          DEFENDANTS.

                                         CONTINUANCE


        This matter comes before the court upon Defendant Sharina Smith’s Motion for Continuance

[85-1]. After due consideration of the motion, the court finds as follows, to-wit:

        Trial is currently set for August 28, 2006. Defense counsel avers that he needs additional time

because of conflicting trials during the current term of State court.

        The Government has no objection to the continuance.

        The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. section

3161(h)(8)(A), the period of delay from August 28, 2006 until the new trial date to be set in this

matter. The time is excludable under subsection (h)(8)(A) because, given the circumstances

described above, a continuance is necessary to afford the defendant’s counsel more time to

adequately prepare for his client’s defense. As such, the ends of justice served by the granting of this

continuance outweigh the best interests of the public and the defendant in a speedy trial.

        IT IS THEREFORE ORDERED AND ADJUDGED that:

        (1) Defendant’s Motion for Continuance [85-1] is hereby GRANTED;

        (2) Trial of this matter as to all Defendants is continued until Monday, October 2, 2006 at

        9:00 a.m. in the United States Courthouse in Greenville, Mississippi;



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       (3) The delay from August 28, 2006 to October 2, 2006 is excluded from Speedy Trial Act

considerations as set out above;

       (4) The deadline for filing pretrial motions is September 11, 2006; and

       (5) The deadline for submitting a plea agreement is September 18, 2006.

       SO ORDERED this the 8th day of August, A.D., 2006.


                                                    /s/ W. Allen Pepper, Jr.
                                                    W. ALLEN PEPPER, JR.
                                                    UNITED STATES DISTRICT JUDGE




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